Case 20-06026-bem          Doc 3    Filed 02/05/20 Entered 02/05/20 09:17:02             Desc Main
                                    Document      Page 1 of 2



                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


IN RE:                                                 :              CHAPTER 7
                                                       :
KELVIN BERNARD JOHNSON,                                :              CASE NO. 19-51667-BEM
TRACEY ANN JOHNSON,                                    :
                                                       :
         Debtors.                                      :


                                                       :
S. GREGORY HAYS, Chapter 7 Trustee                     :
for the Estate of Kelvin Bernard Johnson               :
and Tracey Ann Johnson,                                :
                                                       :
         Plaintiff,                                    :
                                                       :
vs.                                                    :              Adv. Pro. No. 20-06026-BEM
                                                       :
NEW DAY FINANCIAL, LLC,                                :
                                                       :
         Defendant.                                    :
                                                       :

                                   CERTIFICATE OF SERVICE
         I, Michael J. Bargar, certify that I am, and at all times during the service of process was,

not less than 18 years of age and not a party to the matter concerning which service of process

was made. I further certify that the service was made on February 5, 2020 of the Summons [Doc.

No. 2] issued on February 4, 2020, and a copy of the Complaint [Doc. No. 1] filed on February

3, 2020, by first class mail and or certified mail as indicated, postage fully pre-paid, and

addressed to:

                              Via First Class Mail and Certified Mail:
                                        Robert Posner, CEO
                                     New Day Financial, LLC
                                   8160 Maple Lawn Boulevard
                                         Fulton, MD 20759



14625455v1
Case 20-06026-bem           Doc 3    Filed 02/05/20 Entered 02/05/20 09:17:02           Desc Main
                                     Document      Page 2 of 2



                                        Via First Class Mail:
                                       New Day Financial, LLC
                       c/o Registered Agent Solutions, Inc., its Registered Agent
                                   900 Old Roswell Lakes Parkway
                                              Suite 310
                                         Roswell, GA 30076


             Under penalty of perjury, I declare that the foregoing is true and correct.

        This 5th day of February, 2020.
                                                       ARNALL GOLDEN GREGORY LLP
                                                       Attorneys for Chapter 7 Trustee

                                                       By: /s/ Michael J. Bargar
                                                          Michael J. Bargar
                                                          GA. Bar No. 645709
                                                       171 17th Street NW, Suite 2100
                                                       Atlanta, Georgia 30363-1031
                                                       (404) 873-8500
                                                       michael.bargar@agg.com




14625455v1
